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                      EXHIBIT
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    APPENDIX L-3—U.S. PATENT NO. 12,048,692 INFRINGEMENT CONTENTIONS

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                       1.        Element 1[a]: “A method for treating chronic obstructive
                                 pulmonary disease (COPD) in a patient with severe to very
                                 severe COPD, the method comprising:” ....................................... 20
                       2.        Element 1[b]: “selecting a patient having a percent
                                 predicted force expiratory volume in one second less than
                                 about 50 percent; and” .................................................................. 23
                       3.        Element 1[c]: “administering a pharmaceutical composition
                                 comprising an aqueous solution of revefenacin or a
                                 pharmaceutically acceptable salt thereof to a selected
                                 patient using a nebulizer;” ............................................................ 26
                       4.        Element 1[d]: “wherein the patient has a low peak
                                 inspiratory flow rate.” ................................................................... 28
                       5.        Element 2[a]: “The method of claim 1,” ....................................... 33
                       6.        Element 2[b]: “wherein the low peak inspiratory flow rate
                                 is less than about 50 L/min.”......................................................... 33
                       7.        Element 3[a]: “The method of claim 1,” ....................................... 33
                       8.        Element 3[b]: “wherein the patient has a percent predicted
                                 force expiratory volume in one second less than about 40
                                 percent.” ........................................................................................ 34
                       9.        Element 4[a]: “The method of claim 1,” ....................................... 34
                       10.       Element 4[b]: “wherein the patient has very severe COPD.” ....... 34



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                 4.     Element 1[d]: “wherein the patient has a low peak inspiratory flow
                        rate.”

         As discussed above, at least some HCPs will select COPD patients for treatment with

  Mankind’s ANDA product based on the patient having an FEV1 of less than about 50%, and, as

  discussed below, at least a subset of those patients will have a low peak inspiratory flow rate

  (PIFR). The phrase “low peak inspiratory flow rate” is defined in the specification as “a peak

  inspiratory flow rate less than about 60 L/min.” (’692 patent at 4:22-23).




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